

People ex rel. Woods v Lempke (2025 NY Slip Op 02535)





People ex rel. Woods v Lempke


2025 NY Slip Op 02535


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: WHALEN, P.J., LINDLEY, CURRAN, BANNISTER, AND MONTOUR, JJ. (Filed Apr. 25, 2025.) 


MOTION NO. (148/18) KAH 16-00071.

[*1]THE PEOPLE OF THE STATE OF NEW YORK EX REL. 
	WOODS, PETITIONER-APPELLANT,vJOHN B. LEMPKE, SUPERINTENDENT, WENDE CORRECTIONAL FACILITY, RESPONDENT-RESPONDENT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








